Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 1 of 7 - Page ID#: 95




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                               UNITED STATE DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION


   PATRICIA SHEVLIN
                                                          CIVIL ACTION NO. 2:22-CV-00018
            PLAINTIFF,
   v.

   TRACEY LYNN REID, ET AL.

           DEFENDANTS.


        INITIAL DISCLOSURES OF DEFENDANT GERALDINE LEE SOUZA

                                   ***      ***    ***    ***

          Comes Defendant Geraldine Lee Souza, by counsel, pursuant to Federal Rule of

   Civil Procedure 26(a)(1), by counsel, based on information presently available and

   currently known, make their Initial Disclosures as follows:

          1. NAMES AND ADDRESSES OF WITNESSES LIKELY TO HAVE
             DISCOVERABLE INFORMATION:

              A. Plaintiff Patricia Shevlin, can be contacted through counsel;

              B. Defendant Tracey Lynn Reid, can be contacted through Counsel;

              C. Defendant Savannah Marie Whitaker, can be contacted through Counsel;

              D. Employees,     Officers,    Directors,    Attorneys,   Agents,   Independent

                  Contractors and Promoters of Paparazzi Jewelry, specific identities and

                  location are currently unknown ;

              E. Employees, Officers, Directors, Attorneys and Agents of Plaintiff Shevlin

                  and businesses she owns and operates, specific identities and location are

                  currently unknown;

              F. Chadwick Lee, 103 Willowbottom Drive, Greer, SC 29651;


                                            Page 1 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 2 of 7 - Page ID#: 96




             G. Nedia Hatch, 614 Pop Hollow Road, Clinton, TN 37716;

             H. Micheline Crumm, 903 Fox Squirrel Ridge Road, Pickens, SC 2967;

             I. Shari Terry, 13224 S Utah Avenue, Davenport, IA 52804;

             J. Varonica Oehl, 453 Trellis Bay Drive, St. Augustine, Florida 32092;

             K. Joanne Jean Rivens, 111 Bryan Street, Havenlock, NC 28532;

             L. Molly Davis, 866 Larkridge Avenue, Youngstown, OH 44512;

             M. Jennifer Carroll, 1641 S. 2600 W. Aberdeen, Idaho 83210;

             N. Cathy Fox, 609 E Columbus Street, Martinsville, IN 46151;

             O. Amy Lynn Anderson, 5746 Hwy 152E, Rockwell, NC 28138;

             P. Kelly L. Wouters, PhD, Laboratory Director, Armstrong Forensic

                Laboratory, Inc., 330 Loch’n Green Trail, Arlington, Texas 76012-1883;

             Q. Randy Thomas, Waypoint Analytical, 2790 Whitten Road, Memphis,

                Tennessee, 38133;

             R. K. Banyas and J. Burmeister, Applied Technical Services, 1049 Triad

                Court, Marietta, Georgia 30062;

             S. Employees Officers, Directors, Attorneys and Agents of Tic-Toc Social

                Media Platform, specific identities and location are currently unknown;

             T. Employees Officers, Directors, Attorneys and Agents of Instagram Social

                Media Platform, specific identities and location are currently unknown;

             U. Employees Officers, Directors, Attorneys and Agents of Facebook Social

                Media Platform, specific identities and location are currently unknown;

             V. Plaintiff ;

             W. Expert witness on The Freedom of Speech and Constitutional Defenses

                presented by this Defendant, the specific expert witness(es) are unknown at

                this time and will be identified in conjunction with the Court’s Civil Trial

                Order;




                                        Page 2 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 3 of 7 - Page ID#: 97




             X. Other individuals, employees, contractors, vendors and persons known to

                Plaintiffs that are currently unknown to Defendants;

             Y. Louisville Metro Police that took the theft report and assisted with recovery

                of certain items of loss;

             Z. Any and all individuals identified by other parties to this action.



         2. DOCUMENTS

             A. Plaintiff’s business and related files and documents, including but not

                limited to correspondence, emails, letters, notes, electronic records, diaries,

                logs, social media posts, videos, blogs, social media videos, internet videos,

                comments on other individual(s), business(es), accounts social media posts,

                insurance policies, written instructions, manuals, policies, and guidelines

                prepared and presented to Plaintiff by Paparazzi Jewelry, computer

                programs and analysis, financial documents, Federal, State and local tax

                returns, etc.;

             B. Paparazzi Jewelry’s business, financial, and related files and documents,

                including but not limited to correspondence, emails, letters, notes,

                electronic records, diaries, logs, social media posts, comments on social

                media posts, videos posted on the internet and social media; Apps, insurance

                policies, policy manuals, procedure manuals, testing reports, written

                instructions and guidelines of prepared and presented to Independent

                Contractors, Promoters, Employees, Officers, Directors, and Owners of

                Paparazzi Jewelry, computer programs and analysis, Federal, State and

                Local tax returns, etc.;

             C. Defendant Tracey Lynn Reid’s business and related files and documents,

                including but not limited to correspondence, emails, letters, diaries, notes,

                logs, electronic instructions, electronic records, social media posts,


                                            Page 3 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 4 of 7 - Page ID#: 98




                comments on social media, videos posts on the internet and social media

                sites, Apps, insurance policies, logs, financial records or electronic

                instructions, guidelines provided to her by Paparazzi Jewelry; computer

                programs and analysis, etc.;

             D. Defendant Savannah Marie Whitaker’s business and related files and

                documents, including but not limited to correspondence, emails, letters,

                diaries, notes, logs, electronic instructions, electronic records, social media

                posts, comments on social media, video posts on the internet and social

                media sites, Apps, insurance policies, logs, financial records or electronic

                instructions, guidelines provided to her by Paparazzi Jewelry; computer

                programs and analysis, etc.;

             E. Files and documents in possession or previously in the possession of

                Plaintiff’s Commercial Liability Insurer, including but not limited to

                correspondence, notes, memos, electronic records, insurance policies, logs,

                insurance manuals, guidelines and claims handling manuals and

                instructions, etc.;

             F. Laboratory Testing Report – Kelly L. Wouters, PhD, Laboratory Director,

                Armstrong Forensic Laboratory, Inc., 330 Loch’n Green Trail, Arlington,

                Texas 76012-1883, report dated March 11, 2022;

             G. Chemical Test Report – K. Banyas and J. Burmeister, Applied Technical

                Services, 1049 Triad Court, Marietta, Georgia 30062, Report dated January

                25, 2022, report dated January 25, 2022;

             H. Laboratory Test Report – Randy Thomas, Waypoint Analytical, 2790

                Whitten Road, Memphis, Tennessee, 38133, report date January 3, 2022;

             I. Files, documents, videos, posts, comments, account information in

                possession or previously in the possession of Tic-Toc Social Media

                Platform related to Plaintiff and Paparazzi Jewelry, including but not


                                         Page 4 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 5 of 7 - Page ID#: 99




                limited to posts, messages, comments, correspondence, notes, memos,

                electronic records, videos, account information, comments, deleted posts

                and deleted comments, logs, manuals, guidelines and account handling

                manuals and instructions, etc.;

             J. Files, documents, videos, posts, comments, account information in

                possession or previously in the possession of Instagram Social Media

                Platform related to Plaintiff and Paparazzi Jewelry, including but not

                limited to posts, messages, comments, correspondence, notes, memos,

                electronic records, videos, account information, comments, deleted posts

                and deleted comments, logs, manuals, guidelines and account handling

                manuals and instructions, etc.;

             K. Files, documents, videos, posts, comments, account information in

                possession or previously in the possession of Facebook Social Media

                Platform related to Plaintiff and Paparazzi Jewelry, including but not

                limited to posts, messages, comments, correspondence, notes, memos,

                electronic records, videos, account information, comments, deleted posts

                and deleted comments, logs, manuals, guidelines and account handling

                manuals and instructions, etc.;

             L. Police Reports and Loss Reports possibly filed with Police or investigative

                agencies;

             M. Affidavits of Loss submitted and filed by Plaintiff;

             N. Insurance Policies written and underwritten by Plaintiff’s insurer(s) and/or

                their agents or assigns;

             O. Photos, Videos and Screen Shots of social media posts pertaining to

                Plaintiff’s claims for loss;

             P. Plaintiff has in her possession and shall disclose social media posts, videos

                and comments pertaining to Plaintiff, social media posts, videos and


                                           Page 5 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 6 of 7 - Page ID#: 100




                   comments related to Paparazzi Jewelry, social media posts, videos and

                   comments wherein Plaintiff pretended to be someone else and assumed an

                   alter ego to harass, antagonize and intentionally solicit responses from

                   Defendant, social media posts, videos and comments wherein Plaintiff

                   pretended to be someone else and assumed an alter ego to lie, intimidate

                   and defame this Defendant, social media posts, videos and comments

                   wherein Plaintiff begged and pleaded for Defendant to appear on social

                   media with this Defendant, social media posts, video and comments where

                   Plaintiff appeared (as a public figure) with this Defendant to discuss and

                   openly discuss, entertain criticism and defend herself, her company and her

                   position and status in the community; and,

               Q. All documents listed or possessed by the Plaintiff and Co-Defendants that

                   are not currently in possession of this Defendant.



           3. COMPUTATION OF DAMAGES

               A. This Defendant is not claiming damages in this case, at this time.



           4. INSURANCE AGREEMENTS

               A. Defendant does not have insurance applicable or available to pay a

                   judgment in this case.



           Defendant, respectfully, reserves all rights, including the right to amend the

    aforementioned disclosures as necessary or as required by rule, law or Court order.




                                            Page 6 of 7
Case: 2:22-cv-00018-WOB-EBA Doc #: 24 Filed: 06/21/22 Page: 7 of 7 - Page ID#: 101




                                       RESPECTFULLY SUBMITTED,

                                       BLUEGRASS LAWYERS, PLLC


                                       /s/ David C. Travis____________________
                                       DAVID C. TRAVIS
                                       Chamberlain Pointe Lifestyle Center
                                       4612 Chamberlain Lane, Suite 210
                                       Louisville, KY 40241
                                       Phone: (502) 576-2666
                                       Email: David @Bluegrass-Lawyers.com
                                       Attorney for Defendant Souza


                               CERTIFICATE OF SERVICE

           I hereby certify that on June 21, 2022, I electronically filed the foregoing
    instrument with the Clerk of the Court using the CM/ECF system, which will send
    notification of such filing to all parties and counsel requesting such service herein.

                                                       /s/ David C. Travis




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                                         Page 7 of 7
